      Case 2:23-cv-02193-MSN-tmp          Document 101         Filed 07/15/24      Page 1 of 3
                                          PageID 1244



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                          WESTERN DIVISION AT MEMPHIS


 NICOLE FREEMAN, as wrongful death                   )
 representative of Gershun Freeman and next          )   Case No. 2:23-cv-02193-MSN-tmp
 friend of minor child T.F.,                         )
                                                     )
          PLAINTIFF,                                 )   COMPLAINT FOR VIOLATIONS OF
                                                     )   THE CIVIL RIGHTS ACT OF 1871, 42
                                                     )   U.S.C. § 1983, and THE AMERICANS
                                                     )   WITH DISABILITIES ACT OF 1990
 v.                                                  )
                                                     )
 SHERIFF FLOYD BONNER, Jr., in his                   )
 individual capacity; CHIEF JAILER KIRK              )   JURY TRIAL DEMANDED
 FIELDS, in his individual capacity; and the         )   PURSUANT TO FED. R. CIV. PRO. 38(a)
 GOVERNMENT OF SHELBY COUNTY,                        )   & (b)
 TENNESSEE,                                          )
                                                     )
          DEFENDANTS.                                )


      MOTION OF DEFENDANTS KIRK FIELDS AND GOVERNEMNT OF SHELBY
        COUNTY, TENNESSEE TO QUASH SUBPOENA ISSUED BY PLAINTIFF
                SEEKING DOCUMENTS FROM THE WADE FIRM


        COME NOW the Defendants Kirk Fields (“Fields”) and Government of Shelby County,

Tennessee (“Shelby County”), by and through undersigned counsel, and files this Motion to Quash

the Subpoena to Produce Documents, issued by Jake Brown, counsel for Nicole Freeman,

wrongful death representative of Gershun Freeman and next friend of minor child T.F.

(“Plaintiff”). That subpoena seeks documents from The Wade Firm regarding, inter alia,

communications between the Wade Firm and the Shelby County District Attorney General

regarding the investigation of the death of Gershun Freeman.

        Shelby County and Fields seek to quash the subpoena as the subpoena seeks information

that is subject to a pending motion for protective order that Plaintiff has not opposed. (D.E .92)



                                                 1
    Case 2:23-cv-02193-MSN-tmp            Document 101        Filed 07/15/24      Page 2 of 3
                                          PageID 1245



       It is respectfully submitted that this Motion should be GRANTED and the subpoena should

be quashed.

       The Subpoena is Subject to an Unopposed Motion for Protective Order

       Plaintiff has propounded discovery to Defendant Bonner, dated April 26, 2024, seeking the

identical materials sought in the subject subpoena. Defendant Bonner filed a motion seeking a

protective order on April 20, 2024 (D.E .92) That Motion was not opposed and the time for Plaintiff

to oppose said Motion has passed.

       Plaintiff cannot use the subject subpoena as an end-run to get a second opportunity to

secure discovery materials that are subject to the Motion for Protective Order.



                                      CONCLUSION

       It is respectfully submitted that this Motion should be granted and the subpoena seeking

documents from the Wade Firm should be quashed.



                                             Respectfully,

                                             GLANKLER BROWN, PLLC

                                             By: /s/ Robert D. Meyers
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                                                     Fields and Shelby County, Tennessee
    Case 2:23-cv-02193-MSN-tmp            Document 101         Filed 07/15/24      Page 3 of 3
                                          PageID 1246




                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served electronically on the following
via the Court’s ECF system, this the 15th day of July, 2024:

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                                                              /s/ Robert D. Meyers
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